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                                                                   7                               UNITED STATES BANKRUPTCY COURT
                                                                   8                              NORTHERN DISTRICT OF CALIFORNIA
                                                                   9                                      SAN FRANCISCO DIVISION
                                                                       In re:                                      Case No.: 18-31087-HLB
                                                                  10
                                                                                SEDGWICK, LLP,                          Chapter 11
                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                                                     Debtor.            SEDGWICK, LLP’S CHAPTER 11
                                                                  12                                                    FOURTH STATUS CONFERENCE
                                                                                                                        REPORT
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                                                                        Date: July 18, 2019
                                                                  14                                                    Time: 10:00 a.m.
                                                                                                                        Place: 450 Golden Gate Avenue
                                                                  15                                                            Courtroom 19
                                                                                                                                San Francisco, CA 94102
                                                                  16                                                    Judge: Honorable Hannah L. Blumenstiel
                                                                  17

                                                                  18            Sedgwick LLP, the debtor and debtor in possession in the above-captioned case (the

                                                                  19   “Debtor”) hereby submits this third status conference statement (the “Status Conference

                                                                  20   Statement”) in response to the Court’s docket entry rescheduling the status conference and the date

                                                                  21   for a new status conference report entered by the Court on May 10, 2019. The Debtor filed its first,

                                                                  22   second, and third status conference statements on December 13, 2018, February 6, 2019, and May 9,

                                                                  23   2019, respectively. The Debtor will not repeat the information in the previously filed status

                                                                  24   statements but only describe events that have occurred since the filing of the latest statement. The

                                                                  25   Debtor respectfully states as follows:

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                                                                     1                                                     I.

                                                                     2                                    SCHEDULE FOR FILING PLAN

                                                                     3          On June 17, 2019, the Debtor filed the Plan of Liquidation of Sedgwick LLP [Docket No.

                                                                     4   245] (the “Plan”), Disclosure Statement in Support of Plan of Liquidation of Sedgwick LLP [Docket

                                                                     5   No. 246] (the “Disclosure Statement”), and Motion for an Order Approving the Disclosure

                                                                     6   Statement [Docket No. 247] (the “Solicitation Motion”). The hearing on the Solicitation Motion

                                                                     7   was originally scheduled for August 1, 2019 at 10:00.

                                                                     8          Since the filing of the above-described pleadings, the Debtor has been engaged in limited

                                                                     9   discovery and settlement discussions with the Official Committee of Unsecured Creditors (the

                                                                    10   “Committee”) regarding the Motion for an Order Approving the Compromise of a Controversy

                                                                    11   Among the Debtor and Certain Former Equity Partners [Docket No. 234] (the “Partner Settlement
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12   Motion”). As a result of these discussions, the Debtor has continued the hearing on the Solicitation
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13   Motion to August 15, 2019 at 10:00 a.m. so that it can focus on settlement discussions with the
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                                                                    14   Committee regarding the Partner Settlement Motion.

                                                                    15          The Partner Settlement Motion was rescheduled for July 18, 2019 at 10:00 but in light of the

                                                                    16   limited discovery and settlement discussions with the Committee, the Debtor also continued the

                                                                    17   hearing to August 15, 2018 at 10:00 a.m.

                                                                    18                                                     II.

                                                                    19                    MONTHLY OPERATING REPORTS AND DIP ACCOUNTS

                                                                    20          The Debtor filed the following monthly operating reports (“MOR”) since the last status

                                                                    21   statement: [Docket Nos. 231 and 254]. The Debtor will continue to file its MORs and pay United

                                                                    22   States Trustee Fees as and when they come due.

                                                                    23                                                    III.

                                                                    24                             DISPOSITION OF FORMER CLIENT FILES

                                                                    25          The Debtor operated a law firm for over 85 years. The Debtor acquired documents and other

                                                                    26   files that presumably belong to former clients. It was common for the Debtor to store such

                                                                    27   documents with a third-party that specializes in the storage of client files. The Debtor has mailed all

                                                                    28   former clients advising them of the process in place to retrieve their files. The Debtor is responding


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                                                                     1   to what it believes are the last of the file disposition requests. Per the terms of the settlement with

                                                                     2   GRM [Docket Nos. 164 and 207], GRM is in the process of reconciling the cost that was paid by

                                                                     3   former clients, which will be offset against the settlement payment paid to GRM. Once that is

                                                                     4   complete, the Debtor expects to receive a reimbursement from GRM by the end of August 2019.

                                                                     5                                                      IV.

                                                                     6                                       ACCOUNTS RECEIVABLE

                                                                     7          The Debtor’s Court approved collection consultants have been actively engaged in the

                                                                     8   collection of outstanding accounts receivable. As reflected in the schedules of assets and liabilities

                                                                     9   [Docket No. 107] and amended schedules of assets and liabilities [Docket 119], the Debtor estimated

                                                                    10   that approximately $1,000,000 of the outstanding accounts receivable would be collected. Since the

                                                                    11   petition date, a total of $1,500,022 has been collected, comprised of $1,406,394 of U.S. balances
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12   collected by On-Site and an additional $93,628 in UK (figure is USD equivalent of GBP collections)
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13   and Bermuda balances collected by C&C. The Debtor and its collection consultants are hopeful they
                                            ATTORNEYS AT LAW




                                                                    14   will be able to continue collecting more than what the Debtor originally estimated.

                                                                    15                                                      V.

                                                                    16                                                   NOTICE

                                                                    17          Notice of this Status Conference Statement was served on (i) the Office of the United States

                                                                    18   Trustee; (ii) counsel to the Official Committee of Unsecured Creditors; and (iii) all parties requesting

                                                                    19   service.

                                                                    20   Dated: July 11, 2019                           PACHULSKI STANG ZIEHL & JONES LLP
                                                                    21
                                                                                                                        By: /s/ John W. Lucas
                                                                    22                                                      John W. Lucas
                                                                    23                                                       Attorneys for Sedgwick, LLP
                                                                    24

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                                                                     1   STATE OF CALIFORNIA                   )
                                                                                                               )
                                                                     2   CITY OF SAN FRANCISCO                 )

                                                                     3           I, Oliver Carpio, am employed in the city and county of San Francisco, State of California.
                                                                         I am over the age of 18 and not a party to the within action; my business address is 150 California
                                                                     4   Street, 15th Floor, San Francisco, California 94111-4500.

                                                                     5            On July 11, 2019, I caused to be served the following documents in the manner stated
                                                                         below:
                                                                     6
                                                                                 SEDGWICK, LLP’S CHAPTER 11 FOURTH STATUS CONFERENCE REPORT
                                                                     7

                                                                     8                  TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING
                                                                                        (NEF): Pursuant to controlling General Orders and LBR, the foregoing
                                                                                        document was served by the court via NEF and hyperlink to the document. On
                                                                     9
                                                                                       July 11, 2019, I checked the CM/ECF docket for this bankruptcy case or
                                                                    10                  adversary proceeding and determined that the following persons are on the
                                                                                        Electronic Mail Notice List to receive NEF transmission at the email addresses
                                                                    11                  stated below
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12                  (BY MAIL) I am readily familiar with the firm's practice of collection and
                                                                                        processing correspondence for mailing. Under that practice it would be
                                        SAN FRANCISCO, CALIFORNIA




                                                                                        deposited with the U.S. Postal Service on that same day with postage thereon
                                                                    13
                                                                                
                                            ATTORNEYS AT LAW




                                                                                        fully prepaid at San Francisco, California, in the ordinary course of business. I
                                                                    14                  am aware that on motion of the party served, service is presumed invalid if
                                                                                        postal cancellation date or postage meter date is more than one day after date of
                                                                    15                  deposit for mailing in affidavit.

                                                                    16                 (BY EMAIL) I caused to be served the above-described document by email to
                                                                                        the parties indicated on the attached service list at the indicated email address.
                                                                    17
                                                                                 I declare under penalty of perjury, under the laws of the State of California and the United
                                                                    18   States of America that the foregoing is true and correct.
                                                                    19           Executed on July 11, 2019 at San Francisco, California.

                                                                    20
                                                                                                                                          /s/ Oliver Carpio
                                                                    21                                                                     Legal Assistant

                                                                    22

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                                        SAN FRANCISCO, CALIFORNIA




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